Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. ______________________

CHRISTOPHER R. BURI, and
JULIE D. BURI,

          Plaintiffs,

v.

AZIYO BIOLOGICS, INC.,
MEDTRONIC SOFAMOR DANEK USA, INC., and
SPINALGRAFT TECHNOLOGIES LLC,

          Defendants.


               PLAINTIFFS’ COMPLAINT FOR DAMAGES AND JURY DEMAND


          Plaintiffs, Christopher R. Buri and Julie D. Buri, bring this Complaint against Defendants,

Aziyo Biologics, Inc., Medtronic Sofamor Danek USA, Inc., and SpinalGraft Technologies, LLC,

(collectively “Defendants”), and allege upon personal knowledge as to their own experience, their

counsel’s investigation, and upon information and belief as to all other matters the following:

     I.        PARTIES

          1.      Plaintiff, Christopher R. Buri (“Christopher”), is a citizen of the State of Colorado.

          2.      Plaintiff, Julie D. Buri (“Julie”), is a citizen of the State of Colorado.

          3.      Defendant, Aziyo Biologics, Inc. (“Aziyo”), is a Delaware corporation that

maintains it principal place of business at 12510 Prosperity Drive, Suite 370, Silver Spring,

Maryland 20904.
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 2 of 15




        4.      Defendant, Medtronic Sofamor Danek USA, Inc. (“Medtronic”), is a Minnesota

corporation that maintains its principal place of business at 2600 Sofamor Danek Dr., Memphis,

Tennessee 38132.

        5.      Defendant, SpinalGraft Technologies, LLC (“SpinalGraft”), is a Tennessee limited

liability company that maintains its principal place of business at 4340 Swinnea Road, Memphis,

Tennessee 38118.

                                  II.      JURISDICTION AND VENUE

        6.      Plaintiffs incorporate by reference all other allegations of this Complaint as if fully set

forth herein.

        7.      The court has jurisdiction pursuant to 28 U.S.C. § 1332. The amount in controversy

exceeds $75,0000, exclusive of interest and costs. Plaintiffs are citizens of the State of Colorado. Aziyo

is a citizen of the State of Delaware and the State of Maryland. Medtronic is a citizen of the State of

Minnesota and the State of Tennessee. SpinalGraft’s sole member is Medtronic and, as a result, it is a

citizen of the State of Minnesota and the State of Tennessee. Therefore, there is complete diversity

among the Plaintiffs and Defendants.

        8.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in Colorado.

                                        III.   NATURE OF CLAIMS

        9.      Plaintiffs incorporate by reference all other allegations of this Complaint as if fully

set forth herein.

        10.     FiberCel Fiber Viable Bone Matrix (“FiberCel”) is a bone repair product primarily

used in bone grafting procedures associated with orthopedic and spinal surgeries.


                                                  2
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 3 of 15




        11.     Aziyo manufactures FiberCel from human cellular and tissue-based products that

are harvested from cadavers.

        12.     Azyio has contractually retained Medtronic and/or SpinalGraft to sell and distribute

FiberCel throughout the United States.

        13.     On or about June 2, 2021, Aziyo announced a voluntary recall pertaining to a single

donor lot of FiberCel. The recall was instituted after Aziyo learned of post-surgical infections in

patients treated with FiberCel, including some patients who tested positive for tuberculosis.

        14.     The recalled lot consisted of 154 units of FiberCel derived from a single donor,

which were shipped to facilities in 20 different states, including Colorado.

        15.     On or about June 14, 2021, the United States Centers for Disease Control and

Prevention (“CDC”) reported a multistate tuberculosis outbreak which occurred in patients who

had recently undergone spinal surgery using FiberCel products from the recalled lot.

        16.     The CDC stated: “Patients who underwent spinal fusions or fracture repairs using

FiberCel products from Lot NMDS210011 are likely to have been exposed to MTB,” the bacterium

called Mycobacterium tuberculosis which causes tuberculosis disease.

        17.     The CDC recommended that all patients who received FiberCel product from the

recalled lot immediately begin drug treatment for tuberculosis.

        18.     Christopher, who is married to Julie, is one of the patients who received FiberCel

product from the recalled lot, and has now tested positive for tuberculosis.

                                 IV.     FACTUAL ALLEGATIONS

        19.     Plaintiffs incorporate by reference all other allegations of this Complaint as if fully

set forth herein.


                                                  3
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 4 of 15




        20.     Plaintiffs, Christopher and Julie, were married on February 12, 1988, and remain

husband and wife.

        21.     On April 14, 2021, Christopher underwent a spinal fusion surgery at S1-L5 and a

laminectomy at L5-L2.

        22.     The aforementioned surgery was performed by Dr. Benjamin A. Rubin, M.D., a

neurosurgeon certified by the American Board of Neurological Surgery, at Saint Joseph Hospital

in Denver, Colorado.

        23.     During the surgery, Dr. Rubin implanted the FiberCel product, Lot number

NMDS210011, in Christopher’s body.

        24.     The FiberCel product contained no adequate warning or instruction to Dr. Rubin,

Christopher’s healthcare providers, or Christopher of the danger that he could contract tuberculosis

if a FiberCel product was used during the surgeries.

        25.     While the surgery was initially deemed a success, Christopher did not feel that he

was healing properly after the surgery. On May 25, 2021, Christopher began to experience chronic

pain. Christopher immediately brought these ailments to Dr. Rubin’s attention, but Dr. Rubin was

unable to eliminate Christopher’s symptoms or conclusively determine their cause.

        26.     On June 2, 2021, Aziyo issued a recall of 154 units of Fiber Cell product from lot

number NMDS210011. The lot consisted of 154 units of FiberCel, all derived from a single

“donor” that were shipped to facilities in 20 states (the “Recalled Lot”).

        27.     Aziyo issued the notice of the recall to hospitals that received product from this

specific lot after learning of post-surgical infections in patients that tested positive for tuberculosis.




                                                    4
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 5 of 15




         28.   On June 8, 2021, Christopher received a call from Dr. Rubin who informed him

that he had been contacted by a representative of the Colorado Department of Public Health and

Environment (“CDPHE”) who was investigating a cluster of tuberculosis infections in individuals

who had been implanted with the FiberCel product. Dr. Rubin also advised Christopher that he

would need to undergo further testing and evaluation for tuberculosis.

         29.   On June 8, 2021, Christopher also received a call from Jennifer Assman, a

registered nurse affiliated with Denver Health’s Tuberculosis Clinic, who provided him with more

information regarding the tuberculosis infections associated with the FiberCel products. Ms.

Assman also scheduled Christopher to undergo a chest x-ray, blood tests, and a consultation with

Dr. Michelle Haas, the Director of the Denver Health’s Tuberculosis Clinic, on June 9, 2021 at

Denver Health.

         30.   On June 9, 2021, Christopher presented to Kaiser Permanente Colorado as

scheduled and underwent medical imaging including an x-ray, and an MRI. The results of said

imaging revealed a fluid sack at fusion area S1/L5 indicating infection.

         31.   Based on the results of his June 9, 2021 medical imaging and in accordance with

the CDC’s directives, Dr. Haas prescribed Christopher a regimen of medications to treat

Christopher’s tuberculosis infection.

         32.   Christopher continues to receive medications to treat his tuberculosis on a daily

basis.

         33.   Christopher did not have tuberculosis before the FiberCel product was implanted

in his body on April 14, 2021.




                                                5
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 6 of 15




           34.      At all relevant times, Aziyo designed, manufactured, marketed, distributed and/or

sold FiberCel Fiber Viable Bone Matrix (“FiberCel”), which is a human tissue allograft 1 consisting

of cryopreserved cancellous and corticocancellous bone matrix that is allegedly aseptically

processed to preserve native factors that support bone repair.

           35.      FiberCel is a fiber-based bone repair product made from human tissue and

engineered to be like natural tissue. It is marketed for use in orthopedic or reconstructive bone

grafting procedures in combination with autologous bone or other forms of allograft bone or alone

as a bone graft.

           36.      Aziyo manufactures FiberCel from human cellular and tissue-based products that

are harvested from a human cadaver or “donor.”

           37.      Aziyo represents and warrants that each “donor” cadaver is screened and tested by

Aziyo’s Medical Director or physician designee. Aziyo further represents and warrants that said

screening and testing includes “[c]ommunicable disease testing performed by a laboratory

registered with [The Food and Drug Administration “FDA”] to perform such testing on human

specimens … and [the donor] was found to be negative or non-reactive for” HIV, hepatitis B,

hepatitis C, and syphilis.”

           38.       While Aziyo warns that “current technologies may not preclude the transmission

of infectious agents or disease, including hepatitis and HIV,” it does not expressly warn users,

consumers, physicians, or the medical community at large that FiberCel could transmit

tuberculosis.




1
    An allograft is a human graft product sourced from a different individual than the patient receiving the tissue.

                                                             6
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 7 of 15




       39.      Aziyo manufactures FiberCel at facility located at 880 Harbour Way S., Suite 100,

Richmond, California, 94804 (“California Facility”).

       40.      Aziyo distributes FiberCel from its California Facility through certain commercial

agreements with major medical devices companies to promote or commercialize some of its

products. In turn, Aziyo’s commercial partners use their networks of more than 2,000 sales

representatives, clinical specialists, and independent sales agents - more than 800 of which are

focused on Aziyo’s FiberCel products – to sell and distribute its products.

       41.      On or about October 8, 2019, Aziyo announced that it signed an exclusive, multi-

year distribution agreement with Medtronic, whereby Aziyo would manufacture and supply

FiberCel to Medtronic for distribution in the U.S. orthopedic market.

       42.      SpinalGraft is a wholly owned subsidiary of Medtronic responsible for selling and

distributing FiberCel.

                         V.    COUNT I - STRICT PRODUCT LIABILITY

       43.      Plaintiffs incorporate by reference all allegations of this Complaint as if fully set

forth herein.

       44.      Aziyo was a manufacturer of the Recalled Lot of FiberCel.

       45.      Aziyo was engaged in the business of selling FiberCel for resale, use, or

consumption.

       46.      Aziyo sold the Recalled Lot of FiberCel that Dr. Rubin implanted in Christopher

on April 14, 2021.

       47.      The Recalled Lot of FiberCel was defective in that it became contaminated with the

bacterium Mycobacterium tuberculosis, which causes the disease tuberculosis, during its


                                                  7
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 8 of 15




manufacture. Because of this defect, the Recalled Lot of FiberCel was unreasonably dangerous in

that it created a risk of harm to persons that would not ordinarily be expected.

        48.    FiberCel was also defective in its design as it was derived from human tissue that

was not tested for relevant communicable disease, including tuberculosis, and thereby permitted

said harmful pathogens from being transmitted to the recipient of the FiberCel product. Because

of this defect, FiberCel was unreasonably dangerous in that the foreseeable risks of harm posed by

FiberCel are sufficiently great in relation to its foreseeable therapeutic benefits that reasonable

health-care providers, knowing of such foreseeable risks and therapeutic benefits, would not

prescribe FiberCel for any class of patients.

        49.    The Recalled Lot of FiberCel was further defective and unreasonably dangerous in

that it lacked any warning or instruction to healthcare providers and patients concerning the

specific and foreseeable risk of a tuberculosis infection from the use of FiberCel.

        50.    The defective and unreasonably dangerous nature of the Recalled Lot of FiberCel

warning and instructions caused Dr. Rubin to select and implant the Recalled Lot of Fiber Cell in

Christopher on April 14, 2021.

        51.    The specific risk of contracting a tuberculosis infection from the use of the FiberCel

product was not apparent to an ordinary user or consumer of the product, including Christopher

and his healthcare providers.

        52.    The Recalled Lot of FiberCel was defective at the time it was sold by Aziyo or left

its control.

        53.    Christopher was a person who would reasonably be expected to use, consume, or

be affected by the Recalled Lot of FiberCel.


                                                 8
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 9 of 15




         54.     The Recalled Lot of FiberCel was expected to reach the user or consumer without

substantial change in the condition in which it was sold.

         55.     The Recalled Lot of FiberCel did reach Christopher without substantial change in

the condition in which it was sold.

         56.     As a direct and proximate result of the defective and unreasonably dangerous

condition of the Recalled Lot of FiberCel, Christopher has suffered damages including serious

personal injury and illness, pain and suffering, past and future medical costs and expenses, past

and future medical monitoring, inconvenience, and loss of enjoyment, quality of life, and

diminished life expectancy.

         57.     As a direct and proximate result of the defective and unreasonably dangerous

condition of the Recalled Lot of FiberCel, Julie has suffered the loss of love, companionship,

affection, and household services of her husband, Christopher.

   VI.         COUNT II - STRICT PRODUCT LIABILITY FOR MISREPRESENTATION

         58.     Plaintiffs incorporate by reference all allegations of this Complaint as if fully set

forth herein.

         59.     Defendants were engaged in the business of selling FiberCel for resale, use, and/or

consumption.

         60.     Defendants sold the Recalled Lot of FiberCel that Dr. Rubin implanted in

Christopher on April 14, 2021.

         61.     The Defendants misrepresented a fact concerning the character or quality of the

Recalled Lot of the FiberCel to Christopher and/or his healthcare providers, namely that it had




                                                   9
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 10 of 15




been screened and tested for relevant communicable diseases and was safe for implantation within

the human body.

        62.        This misrepresented fact was material to potential purchasers or users of the product

including, Christopher and his healthcare providers.

        63.        The misrepresentation was made to potential purchasers or users as members of the

public at large.

        64.        As a purchaser or user, Christopher and/or his healthcare providers reasonably

relied on the misrepresentation.

        65.        Christopher and/or his healthcare providers were persons who would reasonably be

expected to use, consume, or be affected by the Recalled Lot of the FiberCel.

        66.        As a direct and proximate result of Christopher’s and his healthcare providers’

reasonable reliance on the Defendants’ misrepresentation, Christopher suffered damages including

serious personal injury and illness, pain and suffering, past and future medical costs and expenses,

past and future medical monitoring, inconvenience, and loss of enjoyment, quality of life, and

diminished life expectancy.

        67.        As a direct and proximate result of Christopher’s and his healthcare providers’

reasonable reliance on the Defendants’ misrepresentation, Julie has suffered the loss of love,

companionship, affection, and household services of her husband, Christopher.

                                   VII.    COUNT III - NEGLIGENCE

        68.        Plaintiffs incorporate by reference all allegations of this Complaint as if fully set

forth herein.




                                                    10
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 11 of 15




       69.     Aziyo owed a duty to Christopher to inspect and test the human tissue used to

manufacture the Recalled Lot of FiberCel for the presence of relevant communicable diseases,

including tuberculosis, before incorporating said human tissue into the product and placing it into

the stream of commerce.

       70.     Aziyo negligently failed to inspect and test the human tissue used to manufacture

the Recalled Lot of FiberCel for the presence of relevant communicable diseases, including

tuberculosis, before incorporating said human tissue into the product and placing it into the stream

of commerce.

       71.     Aziyo, Medtronic, and SpinalGraft knew or in the exercise of reasonable care

should have known that (1) the use of the Recalled Lot of FiberCel may be harmful or injurious to

a consumer or user due to the presence of Mycobacterium tuberculosis and (2) that the risk of harm

or injury from said contamination was not obvious to a reasonable user.

       72.     Aziyo, Medtronic, and SpinalGraft owed a duty to warn Christopher and/or his

healthcare providers of the risk of contracting tuberculosis when the Recalled Lot of FiberCel was

used for its intended and foreseeable purpose, because it knew, or in the exercise of reasonable

care should have known, that (1) the use of the Recalled Lot of FiberCel product may be harmful

or injurious to a consumer or user and (2) that the risk of harm or injury was not obvious to a

reasonable user.

       73.     Neither Aziyo, Medtronic, nor SpinalGraft warned Christopher and/or his

healthcare providers of the risk of contracting tuberculosis when the Recalled Lot of FiberCel was

used for its intended and foreseeable purpose.




                                                 11
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 12 of 15




       74.       Aziyo, Medtronic, and SpinalGraft negligently breached each and every duty they

owed to Plaintiffs by failing to exercise reasonable care to prevent the Recalled Lot of FiberCel

from creating an unreasonable risk harm to Christopher while it was being used in a manner the

Defendants might have reasonably expected.

       75.      As a direct and proximate result of the Defendants’ negligence, Christopher has

suffered damages including serious personal injury and illness, pain and suffering, past and future

medical costs and expenses, past and future medical monitoring, inconvenience, and loss of

enjoyment, quality of life, and diminished life expectancy.

       76.      As a direct and proximate result of the Defendants’ negligence, Julie has suffered

the loss of love, companionship, affection, and household services of her husband, Christopher.

                   VIII. COUNT IV – BREACH OF EXPRESS WARRANTY

       77.      Plaintiffs incorporate by reference all allegations of this Complaint as if fully set

forth herein.

       78.      Defendants sold the Recalled Lot of FiberCel that Dr. Rubin implanted in

Christopher on April 14, 2021.

       79.      Christopher is a person who was reasonably expected to use, consume, or be

affected by the Recalled Lot of FiberCel.

       80.      In connection with the sale, Defendants expressly warranted to Christopher and/or

Christopher’s healthcare providers that the Recalled Lot of FiberCel was screened and tested for

relevant communicable diseases and was safe for implantation within the human body.




                                                 12
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 13 of 15




           81.     Defendants breached this express warranty in that the Recalled Lot of FiberCel

was not tested for tuberculosis and was contaminated with Mycobacterium tuberculosis at the time

of sale.

           82.     Christopher, his healthcare providers, the CDC, and/or the CDPHE, notified

Defendants that the Recalled Lot of FiberCel was not as warranted and that the contaminated

FiberCel had been implanted in Christopher, within a reasonable time after the nonconformity was

discovered.

           84.     As a result of Defendants’ breach of warranty, Christopher has suffered damages

including serious personal injury and illness, pain and suffering, past and future medical costs and

expenses, past and future medical monitoring, inconvenience, and loss of enjoyment, quality of

life, and diminished life expectancy.

           85.     As a result of Defendants’ breach of warranty, Julie has suffered the loss of love,

companionship, affection, and household services of her husband, Christopher.

    IX.          COUNT V – BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

           86.     Plaintiffs incorporate by reference all allegations of this Complaint as if fully set

forth herein.

           87.     Christopher is a person who was reasonably expected to use, consume, or be

affected by the Recalled Lot of FiberCel.

           88.     Defendants are merchants with respect to the Recalled Lot of FiberCel.

           89.     Defendants sold the Recalled Lot of FiberCel that Dr. Rubin implanted in

Christopher on April 14, 2021.




                                                    13
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 14 of 15




       90.        An implied warranty that the goods were merchantable arose by operation of law

as part of the sale. See Colo. Rev. Stat. § 4-2-314.

       91.        Defendants breached the implied warranty of merchantability in that the Recalled

Lot of FiberCel was not of merchantable quality at the time of sale because it was contaminated

with Mycobacterium tuberculosis.

       92.        As a result of Defendants’ breach of the implied warranty of merchantability,

Christopher has suffered damages including serious personal injury and illness, pain and suffering,

past and future medical costs and expenses, past and future medical monitoring, inconvenience,

and loss of enjoyment, quality of life, and diminished life expectancy.

       93.        As a direct and proximate result of Defendants’ breach of the implied warranty of

merchantability, Julie has suffered the loss of love, companionship, affection, and household

services of her husband, Christopher.

                                     X.      RELIEF REQUESTED

   WHEREFORE, Plaintiffs respectfully request that the Court grant the following relief:

             a)         An award of compensatory damages to Plaintiffs for past and future

                        damages, including by not limited to pain and suffering for severe and

                        permanent personal injuries sustained by Plaintiffs, health care costs,

                        medical monitoring, together with interest and costs as provided by law; and

                  b)     An award of attorney’s fees and costs;

                  c)     Pre-judgment and post-judgment interest; and

                  d)     All other relief that the Court finds just and proper.




                                                   14
Case 1:21-cv-02789-SKC Document 1 Filed 10/18/21 USDC Colorado Page 15 of 15




                                          Respectfully submitted,

                                          /s/Jason R. Reese
                                          Jason R. Reese
                                          Timothy L. Karns
                                          Wagner Reese, LLP
                                          11939 N. Meridian St., Suite 100
                                          Carmel, IN 46032
                                          Telephone: (317) 569-000
                                          E-mail: jreese@wagnerreese.com
                                                  tkarns@wagnerrees.com

                                          Attorneys for Plaintiffs


                                          /s/R. Craig Ewing
                                          R. Craig Ewing
                                          Ewing Law P.C.
                                          3900 South Wadsworth Blvd. Suite 370
                                          Lakewood, CO 80235
                                          Telephone: (303) 566-9968
                                          Email:       rcraigewing@gmail.com

                                          Attorney for Plaintiffs




                                     15
